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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                                     CRIMINAL NO. 1:09cr100WJG-RHW-1

LATANICIA MCMILLAN ROGERS


                                            ORDER


       THIS CAUSE is before the Court on the motion [30] of Defendant Latanicia McMillan

Rogers to dismiss the Indictment pending against her for an alleged violation of the Sixth

Amendment guarantee of a speedy trial. Rogers is currently charged in an seven-count

Indictment with conspiracy to defraud the United States of America [United States] for acts

committed beginning on or about April 23, 2003, and continuing through January 14, 2005, in

violation of 18 U.S.C. §§ 2 and 286; three counts of health care fraud involving acts occurring in

December 2004 and January 2005; knowingly and willfully making or causing to be made a false

and fraudulent claims in violation of 18 U.S.C. §§ 2 and 1347; knowingly and willfully

falsifying, concealing and covering up a material fact in connection with the delivery of, and

payment for, health care benefits by a health benefit program in December 2004 in violation of

18 U.S.C. § 1035; and stealing, purloining, and knowingly converting more than $1,000 in funds

belonging to the United States in violation of 18 U.S.C. §§ 2 and 641. (Ct. R., Doc. 3, pp. 1-15.)

The Indictment also includes a notice of forfeiture.

       According to Rogers, the United States should dismiss the current Indictment against her


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due to an alleged violation of her right to a speedy trial following a two-year delay in the

prosecution of these charges. (Ct. R., Doc. 30, p. 2.) An Indictment was brought against Rogers

on November 20, 2007, in the United States District Court of Mississippi, Jackson Division,

Criminal Number 3:07cr163WHB-JCS-3, [3:07cr163-3], in which she, along with two co-

defendants, were charged with conspiracy to commit health care fraud in violation of 18 U.S.C. §

371; three counts of health care fraud in violation of 18 U.S.C. § 1347 for acts which occurred in

April 2004; and fifteen counts of making a false statement or false acts in violation of 18 U.S.C.

§ 1035 for acts occurring between December 2003 and August 2004. (3:07cr163-3, Ct. R., Doc.

1, pp. 1-20.) Motions to continue filed by co-defendants were granted in the case on January 17,

2008, following substitution of counsel. (Id., Ct. R., Doc.) Rogers filed a motion and to

continue in the case on April 17, 2008, and an amended motion to continue on April 23, 2008,

which were subsequently granted by Order on April 29, 2010; Rogers’ trial was continued to the

trial calendar beginning August 5, 2008. (Id., Docs. 34, 35, and Text Only Order.) A separate

waiver of speedy trial was entered in the case by Rogers on August 5, 2008, and on August 8,

2008, the Court granted Defendant’s ore tenus motion requesting a continuance, rescheduling her

trial for October 14, 2008. (Id., Docs. 37, 38.) A motion to compel and strike prospective

testimony of a co-defendant were filed by Rogers on September 5, 2008, with a subsequent joint

motion to continue and waiver of speedy trial filed on September 16, 2008. (Id., Docs. 40, 41,

43, 44.) On October 7, the Court granted the motion to continue, rescheduling the trial for the

calendar beginning November 4, 2008. Another joint motion to continue was filed on October

24, 2008, with a waiver of speedy trial. (Id., Doc. 45, 46.) Following a motion to dismiss the

Indictment against Rogers filed by the United States, the Court entered its order granting the


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motion to dismiss without prejudice on October 28, 2008. (Id., Docs. 47, 48.)

        The Indictment in the case now before this Court was filed December 2, 2009. (Ct. R.,

Doc. 3.) The standard thirty days were excluded from the Speedy Trial clock upon Defendant’s

arraignment. (Ct. R., Doc. 20, p. 4.) Her motion to dismiss for the alleged speedy trial violation

was filed January 4, 2010. (Ct. R., Doc. 30.)

        According to the United States, the time which elapsed between the dismissal of the

original Indictment and the filing of the current Indictment is not included in the Speedy Trial

calculation. (Ct. R., Doc. 34, p. 3.) Arraignment on the current Indictment was held on

December 17, 2009. (Ct. R.) The exclusion of the thirty-day period triggered by her arraignment

delayed the commencement of the Speedy Trial clock to January 16, 2010. (Ct. R., Doc. 20, p.

4.) The instant motion was filed January 4, 2010, tolling the Speedy Trial clock. (Ct. R., Doc.

30.)

        Roger alleges a violation of the Sixth Amendment. The Sixth Amendment guarantees

that "[i]n all criminal prosecutions, the accused shall enjoy the right to a speedy . . . trial." The

right to a speedy trial "attaches at the time of arrest or indictment, whichever comes first, and

continues until the date of trial." United States v. Garcia, 995 F.2d 556, 560 (5th Cir. 1993).

The speedy trial clause of the Sixth Amendment to the United States Constitution guarantees that

“[i]n all criminal prosecutions, the accused shall enjoy the right to a speedy . . . trial.” UNITED

STATES CONSTITUTION AMEND. VI. In determining whether this right was violated, the court

looks to and balances four factors: (1) the length of the delay; (2) the reason for the delay; (3) the

defendant’s assertion of her rights, and (4) the prejudice to the defendant. Barker v. Wingo, 407

U.S. 514, 530 (1972). The length of the delay is a “triggering mechanism” and there is “no


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necessity for inquiry into the other factors that go into the balance” analysis until there has been

delay which is presumptively prejudicial. Barker, 407 U.S. at 530. If, as in this case, more than

one year has passed before trial begins, the delay is presumed prejudicial and the court looks to

each of the first three factors to determine whether prejudice will be presumed. United States v.

Parker, 505 F.3d 323, 328 (5th Cir. 2007). Delays of less than five years are not enough to

presume prejudice. Parker, 505 F.3d at 328-9. A one-year delay, however, is enough to warrant

a full analysis of the Barker factors. United States. v. Serna-Villarreal, 352 F.3d 225, 232 (5th

Cir. 2003).

       Rogers claims that the trial has been delayed by 25 months. (Ct. R., Doc. 32, p. 2.) This

includes the time period between the dismissal of the first Indictment without prejudice on

October 28, 2008, and her initial appearance on the instant charges on December 17, 2009. (Ct.

R., Doc. 30, pp. 1-2.) No Sixth Amendment right to a speedy trial arises until charges are

pending. Therefore, any time between the Indictments when charges against the Defendant were

not pending is excludable. United States v. MacDonald, 456 U.S. 1, 7 (1982). Although the

Fifth Amendment’s Due Process Clause protects an accused against pre-indictment delay, Rogers

has not asserted a claim for violation of these rights during the time period between the dismissal

of the first Indictment and her Indictment in this case. (Ct. R., Doc. 30.)

       During the time period encompassing the first Indictment, the Defendants filed multiple

motions to continue the trial which tolled the running of the clock. The clock was not tolled

during the very few days between August 5, 2008, and August 8, 2008, on the first Indictment.

       In the instant case, as previously stated, the Speedy Trial clock was tolled during the

thirty-day time period excluded by the court’s discovery order, which included January 16, 2010.


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(Ct. R., Doc. 20.) Following the filing of this motion to dismiss, and subsequent response filed

by the United States, Rogers filed a motion to continue the trial setting with an accompanying

waiver of speedy trial on January 15, 2010. (Ct. R., Docs. 35.) She indicated in her motion that

the interests of justice outweighs her interest in a speedy trial. (Id.) The Court granted the

motion to continue and trial of this matter was set for April 12, 2010. (Ct. R., Doc. 38.)

       The non-excludable delay in this case, if any, has been about forty days following the

completion of briefing on this motion. Within that time period, Rogers filed her previously

mentioned motion for a continuance of her trial setting. (Ct. R., Doc. 35.) To establish that a

violation of the Sixth Amendment right to a speedy trial has occurred, a showing of mere delay is

not sufficient; there must be a showing that "the [United States] intentionally delayed the

indictment to gain a tactical advantage, and that the delay caused [the defendant] actual and

substantial prejudice." United States v. Carlock, 806 F.2d 535 (5th Cir.1986) (citations omitted).

Because the first three of the Barker factors do not weigh heavily in Rogers’ favor, she is not

entitled to a presumption of prejudice. She must demonstrate "actual prejudice" which would

outweigh the other factors. "Actual prejudice" is assessed in light of the three following interests

of the defendant: (1) "to prevent oppressive pretrial incarceration"; (2) "to minimize anxiety and

concern of the accused"; and (3) "to limit the possibility that the defense will be impaired."

Barker, 407 U.S. at 532.

       In this case, there has been no showing of prejudice. Indeed, Rogers’ motion to continue

acknowledges that because of the complex nature of this case, additional time for preparation

was necessary. (Ct. R., Doc. 35.) The Court, therefore, finds that there is no showing that an

impermissible time period has elapsed under the Speedy Trial Act or the Sixth Amendment, and


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concludes that the motion to dismiss should be denied. See United States v. Neal, 27 F.3d 1035,

1042-3 (5th Cir. 1994). It is therefore,

       ORDERED AND ADJUDGED that the motion [30] to dismiss the indictment for a

violation of Speedy Trial provisions be, and is hereby, denied.

       SO ORDERED AND ADJUDGED this the 24th day of March, 2010.




                                               UNITED STATES SENIOR DISTRICT JUDGE




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